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      Benjamin Woodhouse esq.
 1    Havensight Capital LLC
      #5 Company St.
 2    Christiansted, USVI 00820
      805 478 1958
 3    California Bar #261361
 4
                          UNITED STATES FEDERAL COURT
 5
                        CENTRAL DISTRICT OF CALIFORNIA
 6

 7                                            )   Case No.: 2:15-CV-01206
      Havensight Capital LLC,                 )
 8                                            )   Request for Entry of
                 Plaintiff,                   )   Default Judgment by the
 9                                            )   Court Clerk.
                                              )
10                                            )   Hon. Dean D. Pregerson
      The People’s Republic of                )
11                                            )
      China, Defendant                        )
12
      Does 1 to 10
13
                 Defendant
14

15
                  REQUEST FOR ENTRY OF DEFAULT JUDGMENT.
16

17

18         The Plaintiff, here, moves the Court to enter
19
      Default Judgment in favor of the Plaintiff for
20

21    Defendant’s failure to respond, to Plaintiff’s
22
      complaint pursuant to Rule 12, and Rule 55 of the FRCP.
23

24
      The Defendant, here, was required to serve an answer,

25    within sixty days from the time of this properly served
26
      complaint, under 28 U.S.C. Section 1608 as the
27

28    Defendant is a foreign sovereign entity.                       The

      1         REQUEST FOR ENTRY OF DEFAULT JUDGMENT BY THE COURT CLERK
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 1
      Defendant, here, was served, on Feb. 20, 2015, and

 2    failed to serve an answer by the end of the Court
 3
      business day, at 4p.m., on April 20, 2015, thus it is
 4

 5    proper for the Court’s clerk to enter Default judgment,
 6
      in the specified damages amount in the Complaint of
 7
      $550 million.        Rule 12 FRCP. Rule 55 FRCP. Id. See
 8

 9    Proof of Service of Mailed Summons to Defendant’s
10
      International Legal Cooperation Center pursuant to the
11

12    Hague Convention in Court Record.                   See Proof of Service
13
      of Defendant’s U.S. Embassy pursuant to the Hague
14
      Convention in Court Record.                See Complaint in Court
15

16    Record.
17
           The Clerk should note that previous deficiency
18

19    notice was incorrectly previously attached, here,
20
      because the amount of damages is specified and stated
21
      in this document, U.S. $550,000 and a proof of service
22

23    was properly filed with the Court, here, on the
24
      International Leagal Cooperation Center in Beijing,
25

26    which is the proper agent of process for the People’s
27
      Republic of China.
28



      2         REQUEST FOR ENTRY OF DEFAULT JUDGMENT BY THE COURT CLERK
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 1

 2         Additionally, on the second day, after filing the
 3
      complaint, Plaintiff’s counsel also sent two courtesy
 4

 5    emails, on two separate occasions, both, to the
 6
      Ambassador to the United States for the Defendant, and
 7

 8
      the Consular General of Los Angeles for the Defendant.

 9    Thus, the Defendant was provided ample notice, both
10
      through the proscribed legal methods of International
11

12    service, and also through additional informal notice
13
      channels.      The Plaintiff respectfully requested, here,
14
      in both of its informal correspondences, a peaceful,
15

16    and expeditious resolution to this matter, at hand, and
17
      before it became in front of this Federal Court of law.
18

19

20
           The Controversy, here, pertains to the Plaintiff’s
21
      numerous alleged torts regarding: the Defendant’s
22

23    alleged failure to fulfill a contract for soccer shoes,
24
      property damage to Plaintiff’s business through unfair
25

26    business and trade practices, Trespass, and intentional
27
      interference, with Plaintiff’s corporate
28



      3         REQUEST FOR ENTRY OF DEFAULT JUDGMENT BY THE COURT CLERK
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 1
      communications.         See Complaint in Court record. 18

 2    U.S.C. Section 1030.            Lastly, the Defendant cannot
 3
      successfully assert, the Foreign Sovereign immunities
 4

 5    Act, here, because the torts alleged, against the
 6
      defendant, constitute all of the following: economic
 7
      activity, tortious conduct inside the United States,
 8

 9    interference with contractual relations, within the
10
      United States, and encompassing damage to business
11

12    property, which are all exceptions under the Act.                       See
13
      28 U.S. Section 1605(a)(2),(3), and (5).                       Further, the
14
      Defendant has failed to assert any potential defense to
15

16    Plaintiff’s claims, and has filed absolutely nothing
17
      yet to date, in a show of complete disregard for this
18

19    Court, thus immediate entry of Default is proper.
20

21
           Lastly, it would be unjust from a public policy
22

23    standpoint, along with being contrary to the
24
      aforementioned legal exceptions, for any Federal Court
25

26    to rule that a manufacturer, in the U.S. has tort
27
      liability, but an identical counterpart, operating in
28



      4         REQUEST FOR ENTRY OF DEFAULT JUDGMENT BY THE COURT CLERK
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 1
      China, and paying lower wages, is entitled to serve the

 2    U.S., with impunity to any liability for any alleged
 3
      committed torts by U.S. citizens.                   In fact, a U.S.
 4

 5    court has recently enforced the Judgment of a Chinese
 6
      Court, on a U.S. manufacturer, see Hubei Pinghu Cruise
 7

 8
      Co., Ltd vs.       Robinson Helicopter Company, Inc. CV-

 9    01798-FMC (2009), thus there is no reason why this
10
      Court, here, should not require the Defendant to
11

12    defend, against these serious allegations of torts from
13
      a public policy stand point.                International law is
14
      predicated, on a system that champions justice and
15

16    equality between trading sovereigns.
17

18

19         Finally, the Defendant currently classifies all
20
      companies incorporated, within its boundaries, as
21
      property of its government, thus any assertion of
22

23    sovereign immunity is tenuous at best, for all
24
      commercial trade.          More importantly, the Defendant
25

26    should be encouraged to follow International standards,
27
      in respecting private ownership rights of businesses,
28



      5         REQUEST FOR ENTRY OF DEFAULT JUDGMENT BY THE COURT CLERK
     Case 2:15-cv-01206-JAK-FFM Document 16 Filed 04/23/15 Page 6 of 7 Page ID #:66




 1
      should it somehow expect, this Court to find it more

 2    entitled, to sovereign immunity from alleged egregious
 3
      tortious conduct in a commercial setting.
 4

 5

 6
           Nevertheless, here, the alleged torts stem, both,
 7

 8
      from commercial economic activity, and actual direct

 9    sovereign government official interference.                          Lastly,
10
      the Defendant is not indigent, here, instead it
11

12    possesses trillions of dollars of assets, thus there is
13
      no reason why it should be unable to defend itself,
14
      against these allegations, and in this Court of law.
15

16    In fact, the Defendant’s Minister Le Keqiang, just this
17
      past weekend, announced to a room full of World Leaders
18

19    that it was the Defendant’s specific desire to “deepen
20
      exchanges and cooperation in international rule of
21
      law.”    See http://www.china-embassy.org.                     The Defendant
22

23    can support this statement, here, by honoring this
24
      entered Judgment.
25

26

27
           Affidavit:
28



      6         REQUEST FOR ENTRY OF DEFAULT JUDGMENT BY THE COURT CLERK
     Case 2:15-cv-01206-JAK-FFM Document 16 Filed 04/23/15 Page 7 of 7 Page ID #:67




 1

 2         I, Benjamin Woodhouse do hereby certify that the
 3
      statements and allegations set forth in the foregoing
 4

 5    Request for Clerk and the accompanying Filed Complaint
 6
      are true and accurate to the best of my knowledge and
 7

 8
      belief.

 9

10

11

12
                                               /s/Benjamin Woodhouse
13
                                               Havensight Capital LLC
14                                             #5 Company St.
                                               Christiansted, VI. 00820
15
                                               Cal Bar #261361
16                                             (805) 478 1958
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      7         REQUEST FOR ENTRY OF DEFAULT JUDGMENT BY THE COURT CLERK
